                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CASE NO. 3:14-00191
                                                )   JUDGE SHARP
ANNETTE H. BRATCHER                             )
JEFFREY E. BRATCHER, II                         )

                                           ORDER

         Pending before the Court is a Joint Motion to Continue Sentencing Hearings (Docket No.

41) to which the Government does not oppose.

         The motion is GRANTED and the sentencing hearings scheduled for November 16,

2015, are hereby rescheduled for January 25, 2016, at 9:30 a.m.

         It is so ORDERED.



                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




     Case 3:14-cr-00191      Document 42      Filed 10/13/15      Page 1 of 1 PageID #: 110
